EXHIBIT 1

Case 1`:18-cv-OOOO7-MR-DLH Document 27-2 Filed 03/16/18 Page 1 of 23

 

Teri Lynn

  

Experian§
P. O. Boxi2002
Allen, TX 75013

lFull File Disc'losure Rguost pursuant

To Whori;i it may concern:

Please send me in writing ALL ]I~IFORMA'l`ION 11
the date that you receive this letter regardless of h
U.s. code 1681g(a)(1). Mask the am five digits o

writings you return to me.

 

In additic:)n, I am requesting:
l. P\.rrsuant to 15 U. S. 1681g(a)(2), all sources of 1

2. Pursusncw 15 U. s. 1681g(a`)(3)(A), 1116 idenun~

consumer report on me from Experian.

3. Pursuantto 15 U.S.1681g_(a)(3)(B), the name,
number of each person identiiied under 15 U S. 1

4 Pursual;ntto 15 U S.1681g(a)(4), the dates, original pay¢

in my consumer file at Experian used to adversely

5. Pursuant to 15 U.S. 168‘1g(a)(5),a record of all
year prededing the receipt of this request that ident
insurance transaction that I did not initiate

This 1s a request for a full tile disclosure to include
as permitted by the Fair Credit Reporting Act. It 1s
this calendar year hom Experian.

Thank yo:u in advance for promptly satisfng this

WM@

Teri Lynn Hinkle

s.s.a.' 1 D

Murphy, North Carolna 289

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request.

September 26, 2017

to 15 U.S. Code 1681g(a|11).

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cial Security Number m all

nformaihon in my consumer tile at
'on of each person that procured a
ne,_ address, and telephone

zes, and amounts of any checks
characterize me

received by Experian in the -
iied me in connection with a credit or

lete and archived information

allob
mytjx:

full file disclosure request for

Attached: Copy of my Social Security Card & Drivers License is attached

sent U,SPS cashed Maii # 7016 2070 0000 41:
Return Receipt Requested

33 7458

 

 

Cas§ 1:18-cv-OOOO7-|\/|R-DLH Document 27-2 §Filed 03/16/18 Page 2 of 23

 

Teri Lynn Hinkle
19 Mossy Creek Trail
` Murphy, North Carolina 28906
s. s. # *" l D.o.B“

-, --ln»

September ll, 2017

  

Equia.x -
P.o. Box 740256
Ailanca, GA 30374

Full File Disclosure B_eguest pursuant to 15 U.S. Code 1681g(a)§1).

To Whom it may 'concem:

Please send me in writing ALL .INFORMATION in myconsumer Hle at Equifax as of the
date that you receive this letter regardless of how or where it is stored; pursuant to 15
U.S. Code 1681 g(a)(l). Mask the first five digits of my Social Security Number in all

writings you return to me. _
In addition, I am requesting

` 1. Pursuam 1015 -U.s. `1681g(a)(2), mimms or'inform‘aripn in my consumer sic at
2. Pursuant to 15 U..S 1681g(a)(3)(A), the identification of each person that procured a
consumer report on me from Equifax. ` '
3. Pursuant to 15 U.S.\ 1681 g(a)(3)(B)', the name, trade name, address, and telephone
number of each person identified under 15 U.S. 1-681g(a)(3)(A).

4. Pursuant to 15 U.S. 1681 g(a)t4")'; the dates, original payees, and amounts of any checks
in my consumer tile at Equifax used to adversely characterize me

5. Pursuant to 15 U.S. 1681 g(a)(5), a record of all inquiries received by Equifax in the
year preceding the receipt of this request that identified me in,connection with a credit or
insurance transaction that 1 did not initiate 1 '

'I'his is a request for a full tile disclosure to include all obsolete and archived information
as permitted by the Fair Credit Reporting Act. It is my iirst full file disclosure request for
this calendar year from Equifax.

Thank you in advance for promptly satisfying this request

eri Lynn Hinkle
Attached: Copy of my Social Security Card & Drivers License is attached

_.__

Sent: USPS Certified Mail # 7016 0340 OOOO 1408 7757
Return Receipt Requested _

_ Case 1:18-cv-OOOO7-|\/|R-DLH Document 27-2 Filed 03/16/18 Page 3 of 23

 

 

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TeriLynn' ' kle
s.s.#_ |_ D.o.B.

P.o. Box§zooo
chosen i>A 19022

 

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To Whor§i it may concerns
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of the da§e that you receive this letter regardless of how or
15 U. S. Code 1681g(a)(1). Maskthe first iive digil§s of'my

writings you return to me -

In addition, I am requesting:

Murph'y, Norch carolina 289§)6

September 26, 2017

S.Code1681 a 1.

§ Please seiid me in writing ALL lNFORMATION_iii my co|nsumer tile at Trans Union as

where it is stored; pursuant to
Social Security Nmnber in all

l. Pursuant to 15 U. S. 1681 g(a)(2), all sources of information in'my consumer tile at

Trans Ui§ion.
§
2. Pursuant to 15 U.S.1681g(a)(3)(A), the identifi `

consumer report on me from Trans Union.

 

   
 
 

§
3. Pmsudntto 15 U. S. 1681g(a)(3)(B), the name, _ '

'on ‘o§` each person that procured a

' `na'rne,~ address, and telephone

number of each person identified under 15 U. S. 1 81 g(a)( 3)(A).

  
 
 
  

4. Pursuantto 15 U.S.1681g(a)(4), the dates, ori '
in my consumer tile at Trans Union used to adv

5. Pursua:nt to 15 U. S. 1681 g(a)(5), a record of all quiri
the year preceding the receipt of this request that 1 ntifi
or insurance transaction that I did not initiate

payees, and amounts of any checks
ly chai§acterize me

received by Trans Union` in
main connection with a credit

This is al equest for _a iiill tile disclosure to includgl all obs§olete and archived information

as permitted by the Fair Credit Reporting Act. It
this calendar year B‘om Trans Union.

Thank you in advance for promptly satisfying this request

Lynn

 

i my iirs§ iiill iile disclosure request for

 

Atta___cli__ed: Copy of my Social Security Card & Dn vers License is attached

Sent: U§SPS Certified Mail # 7016 2070 0000 41. 33 7465§
ReturnReceipt Requested §
Case §1:18-0\/- -OOOO7- |\/|R- DLH_ Document 27-2 |I

 

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EXHIBIT 2

Case 1:18-cv-OOOO7-|\/|R-DLH Document 27-2 Filed 03/16/18 Page 5 of 23

 

Teri Lynn Hinkle

Murphy, Norrh carolina 23906
S. S. M | D.O.B.*

 

October l 6, 2017

Experian
P.O. Box 2002
Allen, TX 75013

Final Rguost Pursuant to 15 U.SC. § 1681gga1111

To whom it may concern:

I am writing in regard t`o your response to my initial request for my Full Consumer File
Disclosure. My request was very specific and I provided the exact sections of the FCRA which
require you to provide it to me (see copy of my original letter attached). Your response was not
correct in that you did not provide the Full Consumer Fil_e Disclosure as requested. I will once
again state that I am requesting my Full Consumer Filé Disclosure pursuant to 15 U.S.C. §
1681g(a)(1) to include all other such information listed specifically in my initial letter. No
response by you other than providing the Full Consumer File Disclosure as required by the

FCRA will be appropriate or accepted by me.

My initial letter was my first request for the Full Consumer File Disclosure within the past 12
months and there is no provision in the FCRA which allows you to charge me for it. I expect
your full compliance with the law and for me to receive my Full Consumer File Disclosure in a
timely manner as required by the F_CR_A. Your failure to do so Will result in me initiating legal
action against you to force compliance linder the law. Your timely response is appreciated Act

accordingly.

l Once again as was provided with my initial request, .I am enclosing a copy of my driver’s '
license and Social Security Card for identiiication purposes You are instructed to mask the first
five digits of my Social Security Number in all writings you return to me. -

Thank you in advance for promptly satisfying this request.

 

Attac'hed: Copies of my Social Security Card & Driver’s License and initial request are attached
Sent: USPS Certiiied Mail # 7016207.0 0000 4133 7489
Return Receipt Requested

Case 1:18-cv-OOOO7-|\/|R-DLH Document 27-2 Filed 03/16/18 Page 6 of 23

 

 

Teri L I-'Iinkle

Murphy, Nonh catalina 28906

s.s.‘#~ l D.o.B.-"
October 9, 2017

Equifax
P.Orf Box 740256
Atlanta, GA 30374
Final Rguest Pursuant to 15 U.SC. § 1681gga)§1)-

To whom it may concern:

1 am writing in regard to your response to my initial request for my Full Consumer File
Disclosure. lMy request was very specific and I provided the exact sections of the FCRA which
require you to provide it to me (see copy of my original letter attached). Your response was not
correct in that you did not provide the Full Consumer File Disclosure as requested. I will once
again state that I am requesting my Full Consumer Filé`Disclosure pursuant to 15 U.S.C. §
1681g(a)(1) to include all other such information listed specifically in my initial letter. No
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' FCRA will be appropriate or accepted by me.

My initial letter was my first request for the Full Consumer File Disclosure within the past 12
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your full compliance with the law and for me to receive my Full Consumer File Disclosure in a
timely manner as required by the FCRA. Your failure to do so will result in me initiating legal
action against .you to force compliance under the law. Your timely response is appreciated Act

accordingly _

Once again as was provided with my initial request, I am enclosing a copy of my driver’s_ '
license and Social Security Card for identification purposes. You are instructed to mask the first
live digits of my Social Security Number in all'writings you return to me. , '

Thank you in advance for promptly satisfying this r§quest.

 

Attached: Copies of my Social Security Card & Driver’s License and initial request are attached
Sent: USPS Certified Mail # 7016 2070 0000 4133 7472 -
Return Receipt Requested

Case 1:18-cv-OOOO7-|\/|R-DLH Document 27-2 Filed 03/16/18 Page 7 of 23

 

 

Teri Lynn Hinkle

Murphy, North Carolina 28906

s. s. #. | D.o.B. -
October 14, 2017

Trans Union
P.O. Box 2000
Chester, PA 19022

Final Rg,guest Pursuant to 15 U.SC. § 1681gga)g11y

To whom it may concern:

I am writing in regard to your response to my initial request for my _Full Consumer File
Disclosure. My request was very speciiic and I provided the exact sections of the \FCRA Which
require you to provide it to me (see copy of my original letter attached). Your response was not
correct in that you did not provide the Full Consumer File Disclosure as requested I will once
again state that I am requesting my Full Consumer Filé D`isclosure pursuant to 15 U.S.C. §
l681g(a)(l) to include all other such information listed specifically in my initial letter. No
response by you other than providing the Full Consumer File Disclosure as required by the

FCRA will be appropriate or accepted by me.

My initial letter was my first request for the Full Consumer `File Disclosure within the past 12
months and there isno provision in the FCRA which allows you to charge me for it. I expect
your iiill compliance with the law and for me to receive my Full Consumer File Disclosure in a
timely manner as required by the ECRA§ Your failure to do so will result in me initiating legal
action against you to force compliance_under the law. Your timely response is appreciated Act

accordingly

Once again as was provided with my initial request, l am enclosing a copy of my driver’s '
license and Social Security Card for identification purposes You are instructed to mask the first
five digits of my Social Security Number in all writings you return to me.

Thank you ' » . t vance for promptly satisfying this request

  

Attached: Copies of my Social Security Card/& Driver’s License, utility bill and initial request

are attached
Sent: USPS Certified Mail # 7016 2070 0000 4133 7496

Return Receipt Requested

Case 1:18-cv-OOOO7-|\/|R-DLH Document 27-2 Filed 03/16/18 Page 8 of 23

 

EXHIBIT 3

Case 1:18-cv-OOOO7-|\/|R-DLH Document 27-2 Filed 03/16/18 Page 9 of 23

 

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PO Box 9701

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MURPHY NC 28906

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Case 1:`18-cv-OOOO7-|\/|R-DLH Document 27-2 Filed 03/16/18 Page 10 of 23

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Case 1:18-cv_-OOOO7-|\/|R-DLH Document 27-2 Filed 03/16/18 Page 11 of 23

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EXHIBIT 4

Case 1:18-cv-OOOO7-|\/|R¢DLH Document 27-2 Filed 03/16/18 `Page 12 of 23

 

092003213-FLT
TEFil LYNN H|NKLE Seplember 21, 2017

MURPHY NC 28906-7728

Dear TERI LYNN H|NKLE: '

Your request concerning your Equifax file or credit score has been received and we are looking forward to sewing
you. At this time there is a charge for the Equifax credit file and/or score. § v

The charge for a disclosure is $11.50. Additional reports within 12 months are $11.50. The charge for the credit score
is $7.95. |f you have a major credit card, you may use our automated ordering system at 1~800-685-111"1.

To protect the confidentiality of your file, please forward to us the items listed below.

A copy of one item in EACH of the categories below is needed in order to verify your identification and address, The
item-yot;rchoose in the identity category MUSTcontain your Social Security number, andthe'iterrr you choose in the --1
address category MUSTcontain your current mailing address of: TEH'I LYNN HlNKLE, 19 MOSSY CREEK THL,

MURPHY NC 28906-7728.

lDENTlFlCAT|ON (NAME OR SSN) ' CURRENT ADDRESS

*Birth certificate or Marriage certificate with current name *Drlver‘s license

*P`ay stub with complete U.S. Social Security number *Rental/lease agreement/hpuse deed

*W2 form with complete U.S. Social Security number * Mortgage statement or bank statement

*Va|id Social Security Card *Utility bill (i.e. gas, cable, residential telephone bill)

Note: A work permit only card is not valid proof of a SSN

To ensure that your request is processed accurately, please enlarge photocopies of any items that contain small print
(e.g. driver's license, W2 forms, etc.). To avoid additional delays, keep in mind that if photocopies are not legible or
contain highlighting, they may cause us to ask that you resubmit your request With more legible documents

P|ease submit the requested identihcation/address information and this letter to the address below:

Equlfax lnformation Services LLC
P. O. Box 105379 _
Atlanta GA 30348-5379

lf you included payment in the form of a personal check, it has been shredded for your protection |f you included a
money order it is being returned to you in a separate mailing. Please include the correct payment with the new

request
Thank you for the opportunity to assist you.

E,quif_ax lnformation §ervices LLC

Case 1:18-cv-OOOO7-l\/|R-DLH Document 2&§203£§_%§§,@(§§,&/21,§_ 309§1_13§2§63@1° 23

 

EXHIBIT 5

Case 1:18-cv-OOOO7-l\/|R-DLH Document 27-2 Filed 03/16/18 Page 14 of 23

 

@

***314334935-017*** File Number: 314334935 *
TransUnion LLC page, 1 of 2 TranSUnlon.,

PO Box 805 .
Woodiyn, PA19094-0805 Date 'Ssued‘ 10/5/2017

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TER| LYNN H|NKLE

NlURPHY, NC 28906-7728

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Thank you for contacting TransUnion. Our"goal is to maintain complete and accurate information on consumer credit reports.
We have provided the information below in response to your request.

Re; Disclosure Request - Proof of Current Mailing Address

We have received your request for a copy ofyo`urTransUnion Credit Report. However, the current mailing address you
provided is not listed in our records. |n order for TransUnion to process your request and to protect the confidentiality ofyour
credit report, please complete the attached form and submit verification ofyour current address. Acceptable forms of
verification include copies oftwo (2) ofthe qualifying documents_l_isted below.

lfyou would prefer, you may visit us online at www.transunion.com _to view a copy ofyour credit 'report.

- Drivers License

- State lD Card

- Bank or Credit Union Statement

- Cancelled Check ' v
- Government lssued |D Card

- Signed Letter from Homeless Shelter

___» `$tamped*Post Off" ce Box ~Re.ceipt g _~__`_ _`___s__~, _,* s,_*_____`v__'__,`___._____ _._____...~m ~__-._s
- Utility Bills (Water, Gas, Electric, or Telephone)
- Pay Stub

When providing proof of your current mailing address please ensure that bank statements, utility bills, cancelled checks and
pay stubs are recent and not olderthan 2 months. All state issued license and identification cards must be current and
unexpired. PQ Box receipts and signed letters from a homeless shelter should not exceed more than 1 year in age. Please
note that electronic statement printed from a website cannot be accepted for proofofaddress.

lfyou have any additional questions or concerns, please contact TransUnion at the address shown below, orvisit us on the
, web at www. transunion. com for general information. When contacting our office, please provide your current file number
314334935.

P.o. Box 1000 ` ‘ ~
Chester, PA 19016-2000 y

Case 1:18-0-\/- -OOOO7- l\/|R- D_l_H Document 27- 2 Filed 03/16/18 Page 15 of 23

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F‘ N b = 314334935 .
Pl;;e:um er 20f 2 Transunlon, _
pate lssued= 10/5/2017

 

    

 

 

 

Name: SSN:`
CurrentAddress: ` Previous Address:
Other Name(s) Used: .Date of Birth:

 

 

 

 
 

Acceptable forms of Current Address verification include
copies of two of the following documents that show your
Current Address:

a) Drlver's license

b) Utility bill

c)-Bank or credit union statement

d) Cancelled check

e)` Signed homeless shelter letter

f) Stamped post office box receipt

g) Government issued lD

h) State lD card

vi) Pay stub

important notes regarding acceptable forms of proof:

   
  

 
 

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A ceptable forms of Social Security verification include a copy of one
of the following documents that shows your Social Security Numberz
a) Social Security card
b) Letter from the Social Security Administration
c) Military lD
d) Medicaid or Medicare card,

 
 

Acceptable forms of Date of Birth.verification include a copy of one of
the following documents that shows your Date' of Birth:

a) Birth certificate

b) Driver's license

c) Government issued lD

d) Passport

~ Utility Bills, Bank o_rCredit Union Statements,ftfancelled Checks and Pay Stubs must not be olderthan 2 months.
° P.O. Box Receipts and Homeless Shelter Letters must not be older than 12 months.

° We are unable to accept documents that contain a past expiration date as proof.

v Electronic statements printed from a website cannot be accepted as proof.

 

 

    

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"J, ii

 

f'you would like to receive your TransUnion Consumer Credit Score in addition to the credit report, please provide additional

l:l r ai
c¢"

payment. .
TransUnlon Credit Score - $9.95
Check here i:i to include credit score with credit report,
Check credit _
… E- m E_ws»

 

Card Number: l | l l |

 

 

 

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/__

 

Month/Year'

Vou may also pay by sending a check or money order, for the required amount, payable to TransUnion. Once payment is received,
we will promptly send you a copy of your credit report (and score if applicable).

 

 

 

 

 

Fonn-950 (Dlsclosure Request)

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P 7H1QB-002 00325|000650 02

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EXHIBIT 6

Case 1:18-cv-OOOO7-l\/|R-DLH Document 27-2 Filed 03/16/18 Page 17 of 23

 

 

   

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EXHIBIT 7

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_ EXHIBIT 8

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m
MURPHY, NC 28906-7728

Thank you for contacting TransUnion. Our`goal is to maintain complete and accurate information on consumer credit reports.
We have provided the information below in response to your request.

Re; Disclosure Request - Proof ofCurrent Mailing Address

We have received your request for a copy of yourTransUnion Credit Report. However, the current mailing address you
provided is not listed in our records. |n order forTransUnion to process your request and to protect the confidentiality ofyour
credit report, please complete the attached form and submit verification of your current address. Acceptable forms of
verification include copiesrof two (2) of the qualifying documents listed below.

lfyou would prefer, you may visit us online atww.w.transunion.com to view a copy of your credit report,

- Drivers License
- State lD Card t
- Bank or Credit Union Statement
- Cancelled Check
- Government issued lD Card
- Signed Letter from Homeless Shelter
__,-____",St . ____ ............. -»`~`~-`_.»~*__`__-~__-»---M"`)-___-»-`-»- .,_
- Utility Bills (Water, Gas, Electric, or Telephone)
- Pay Stub

 

When providing proof ofyour\current mailing address please ensure that bank statements, utility bills, cancelled checks and
pay stubs are recent and not older than 2 months. All state issued license and identification cards must be current and
unexpired. PO Box receipts and signed letters from a homeless shelter should not exceed more than 1 year in age. Please
note that electronic statement printed from a website cannot be accepted for proofof address,

|fyou have any additional questions or concerns, please contact TransUnion at the address shown below, or visit us on the
web at www.transunion.com for general information. When contacting our office, please provide your current tile number
314334935. .

P.O..Box 1000
Chester, PA 19016-2000

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:'§§:“""°°" §§;'P§"g” TransUnion,
Date lssued: 10/18/2017

 

 

 

 

 

Name: SSN
Current Address: Previous Address:
Other Name(s) Used: 7 Date of Birth :

 

 

 

   

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' Accepfable forms ofCurréntIddress verification include Acceptable forms of Social Security verification include a copy of'o"ne
copies of two of the following documents that show your of the following documents that shows your Social Security Number:

      

Current Address: a) Social Security card
a) Driver's license b) Letter from the Social Security Administration
b`) Utility bill ` __ c) Military |D ` ’
c) Bank or credit union statement d) Medicaid or Medicare card
d) Cancelled check
e) Signed homeless shelter letter ..¢_ h ~
f) Stamped POSf OffiCe bOX recein Acceptabte forms of Date of Birth verification include a copy of one of
g) Government issued |D the following documents that shows your Date of Birth:
h) State ID card _ _ a) Birth certificate
i) Pay 5be 1 b) Driver's license
c) Government issued lD
d) Passport

important notes regarding acceptable forms of proof:
~ Utility Bills, Bank or Credit Union Statements, Cancelled Checks and Pay Stubs must not be olderthan 2 months.
- P.O. Box Receipts and Homeless Shelter Letters must not be older than 12 months. .
¢ We are unable to accept documents that contain a past expiration date as proof.
¢ Electronic statements printed from a website cannot be accepted as proof.

 

 

 
     

lfyou`would like to receive yourTransUnion Consumer Credit Score in addition to the credit report, please provide additional
payment. '

TransUnion Credit Score - $9.95

Check here |:i to include credit score with credit report,

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l ,Y`ou may also pay by sending a check or money order, for the required amount, payable to TransUnion. Once payment is received,
t we will promptly send you a copy of your credit report (and score ifapplicable).

 

 

 

 

 

 

Form-950 (Disclosure Request)

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